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Exhibit F-3
PERMITTED LIENS
Chicago Title Insurance Company Policy Number 1401 -008452428 (7/28/09) — Gold Lot
AD*, O, P and AA
Chicago Title Insurance Company Policy Number 1401-008452424 (7/28/09) — Brown Lot
Z*, Land W
Chicago Title Insurance Company Policy Number 1401-008452423 (7/28/09) — Green Lot
AT*, H, 1, J, K, L, M, N, O, AA, AB, AC and AP
Chicago Title Insurance Company Policy Number 1401 -008452422 (7/28/09) — Blue Lot
AK*, N, AG, O, Al and AN
Also, Exception L on title commitment dated January 13, 2009
has been waived by Chicago Title Insurance Company and is
not an exception on the pro forma title policy.
Chicago Title Insurance Company Policy Number 1401-008452421 (7/28/09) — Red Lot
AL*, N, Q, Aland AJ
Chicago Title Insurance Company Policy Number 1401 -008452420 (7/28/09) — Wrigley Field

AE*, J, K, AB and AC

Real covenant recorded by Tribune Company pursuant to
the Agreement between Mr. William Wrigley,
individually and as Trustee under the Will of Phillip K.
Wrigley, dated November 4, 1981.

Chicago Title Insurance Company Policy Number 1401-008452425 (7/28/09) — Mueller Building and T-
Building

AY*, AC, O, AH, U and AV
Chicago Title Insurance Company Policy Number 1401-008452429 (7/28/09) — Triangle Property
AJ*, S and AF
Chicago Title Insurance Company Policy Number 1401-008452427 (7/28/09) — Orange Lot

Al*, J, G, Q, R and AC

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Chicago Title Insurance Company Policy Number 1401-008457715 (7/28/09) — 3822 N. Racine
AB*, D, V and X

Also, Exception E on title commitment dated January 20, 2009 has been waived by Chicago Title
Insurance Company and is not an exception on the pro forma title policy.

Note - * denotes an exception for general property taxes and, in some instances, special service area
taxes. The letter designation for this exception may change from time to time.

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